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  7
  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11    LUCENT TRANS ELECTRONIC               Case No. 2:18-cv-08638-FMO-KS
       CO., INC.
 12                                          FIRST AMENDED COMPLAINT
                        Plaintiff,           FOR:
 13
            v.                               (1) FRAUDULENT
 14                                              MISREPRESENTATION/
       FOREIGN TRADE CORPORATION                 INDUCEMENT
 15    D/B/A TECHNOCEL, TYLT INC.,
       RAMIN ROSTAMI, ADVANCED               (2) NEGLIGENT
 16    WIRELESS INNOVATIONS, LLC                 MISREPRESENTATION
       and DOES 1 through 10, inclusive,
 17                                          (3) BREACH OF CONTRACT
                        Defendants.
 18                                          (4) ANTICIPATORY BREACH
 19                                          (5) PROMISSORY ESTOPPEL
 20                                          (6) UNJUST ENRICHMENT
 21                                          (7) FRAUDULENT TRANSFER
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  1          Plaintiff Lucent Trans Electronic Co., Inc. (“Lucent”), a Taiwan corporation,
  2    for its Complaint against Foreign Trade Corporation d/b/a Technocel
  3    (“Technocel”), TYLT Inc. (“TYLT”), Ramin Rostami (“Rostami”), Advanced
  4    Wireless Innovations, LLC (“AWI”) and DOES 1 through 10 (collectively,
  5    “Defendants”), respectfully submits the following and alleges as follows:
  6                               NATURE OF THIS ACTION
  7          1.     This action seeks money damages against Defendants Rostami, and his
  8    alter egos Technocel,TYLT and AWI, who acted as a single enterprise, to defraud
  9    Lucent to manufacture and supply power chargers to Defendants, but wrongly did
 10    not pay for those power chargers ordered and/or received from Lucent. On the
 11    heels of Technocel’s insolvency, Rostami caused Technocel to fraudulently transfer
 12    its assets to TYLT, to escape Technocel’s liabilities of millions of dollars and
 13    continue his fraudulent business practices, as stated herein. The fraudulent transfer
 14    did not end with TYLT. Shortly after refusing to pay TYLT’s past-dues to Lucent,
 15    Rostami caused TYLT to assign all of its trademark rights fraudulently transferred
 16    from Technocel to another company he owns and controls - AWI.
 17          2.     Lucent seeks recovery of amounts owed for those chargers, and, herein
 18    asserts causes of action for fraudulent transfer, fraudulent inducement, fraudulent
 19    and negligent misrepresentation, breach of contract, anticipatory breach, promissory
 20    estoppel, and unjust enrichment. Some of these claims against some of the
 21    Defendants are based on alter-ego liability and piercing the corporate veil.
 22          3.     Lucent also seeks to recover litigation costs, investigative costs, pre-
 23    judgment and post-judgment interests, attorneys’ fees where applicable, and
 24    punitive damages from Defendants. Lucent further seeks recovery of assets and
 25    money fraudulently transferred from Technocel to TYLT and then AWI under the
 26    guise of a general assignment for the benefit of creditors under at least California
 27    Civil Code §§ 3439.02, 3439.04 & 3439.05 (“GABC”), and a preliminary and
 28
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  1    permanent injunction against Rostami and TYLT from disposing or dissipating any
  2    of the funds fraudulently transferred, or otherwise acquired, from Technocel.
  3                                         PARTIES
  4          4.     Plaintiff Lucent is incorporated under the laws of Republic of China,
  5    Taiwan, with its principal place of business in 9F-1, No. 16, Chien Pah Road,
  6    Chung Ho District, New Taipei City, Taiwan. Lucent manufactures cellular phone
  7    accessories and computer peripherals, including power chargers. Founded in 1990,
  8    Lucent has nearly thirty years of experience and know-how in switching power
  9    supply, power chargers, multimedia, IP Camera and computer peripherals. Lucent
 10    sells power chargers worldwide, including North and South Americas, Europe,
 11    Russia, the Middle East and Asia.
 12          5.     Defendant Rostami is a California resident and is the founder of both
 13    Defendant Technocel and Defendant TYLT. Between at least 2016 and January
 14    2018 (when Technocel went through the GABC process), Rostami held executive
 15    positions at Technocel including Chief Executive Officer (“CEO”) and Chief
 16    Financial Officer (“CFO), while his wife, Fariba Rostami, on information and
 17    belief, was Secretary of the company. On information and belief, Rostami had been
 18    the sole or dominant board member and sole shareholder of Technocel. On
 19    information and belief, Rostami founded TYLT and has been the sole or dominant
 20    board member and sole shareholder, while also employed as CEO of TYLT since
 21    its incorporation. In addition, Rostami held himself personally liable for the
 22    amount Technocel owes Lucent for the power chargers supplied to Technocel, as he
 23    should, given he is Technocel’s alter ego. Rostami’s capital contribution to TYLT
 24    is $5,000, which is inadequate as described herein. On information and belief, and
 25    as stated herein, Rostami is also TYLT’s alter ego.
 26          6.     Defendant Technocel was founded and incorporated by Rostami as a
 27    California corporation, which had its principal place of business at 685 Cochran
 28    Street, Suite 200, Simi Valley, California. Technocel was an international
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  1    distributor of wireless accessories, including power chargers. Specifically,
  2    Technocel engaged in the business of purchasing power chargers from suppliers
  3    and reselling those power chargers to retail merchandizers. As stated herein,
  4    between 2016 and January 2018, Technocel was controlled by Rostami, as the sole
  5    or dominant board member and sole shareholder, while also employed as CEO and
  6    CFO of Technocel. On information and belief, Technocel is Rostami’s alter ego.
  7          7.     Defendant TYLT is a Delaware corporation and was founded by
  8    Rostami and incorporated on June 7, 2017. As stated herein, on information and
  9    belief, Rostami has been the sole or dominant board member and sole shareholder,
 10    while also employed as CEO of TYLT since his incorporation of TYLT. On
 11    information and belief, TYLT is undercapitalized, because Rostami, as the sole
 12    shareholder of TYLT, contributed only $5,000 as its operating capital. While
 13    Technocel was still an on-going business entity, TYLT and Technocel shared the
 14    same principal place of business—685 Cochran Street, Suite 200, Simi Valley,
 15    California—and during which TYLT held itself out as another name for Technocel.
 16    TYLT was and still is an international distributor of wireless accessories including
 17    power chargers. On information and belief, Rostami formed TYLT so that he could
 18    carry out his plan to defraud Lucent and other creditors of Technocel and continue
 19    his business as an international distributor of wireless accessories including power
 20    chargers under the new name TYLT by acquiring most, if not all, assets of
 21    Technocel at below market value under the guise of the GABC process. On
 22    information and belief, TYLT is Rostami’s and Technocel’s alter ego.
 23          8.     Defendant AWI is a Delaware corporation and was founded by
 24    Rostami and incorporated on February 3, 2016. On information and belief,
 25    Rostami has been the sole or dominant board member and sole shareholder, while
 26    also employed as CEO of AWI since his incorporation of AWI. AWI shares the
 27    same principal place of business with TYLT and Technocel (while it was still
 28    operating)—685 Cochran Street, Suite 200, Simi Valley, California. On
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  1    information and belief, like Technocel and TYLT, AWI is also in the business of
  2    retailing wireless accessories including power chargers, and has been controlled by
  3    Rostami since its incorporation by him. On August 1, 2018, merely ten days after
  4    Rostami repudiated to pay Technocel’s and TYLT’s past-dues to Lucent, Rostami
  5    caused TYLT to assign the trademark rights of Technocel that were transferred to
  6    TYLT on January 8, 2018, to AWI for no value in return. On information and
  7    belief, TYLT’s trademark assignment to AWI was to avoid TYLT’s and
  8    Technocel’s liabilities to Lucent. On information and belief, AWI is under
  9    Rostami’s sole control and is Defendants Rostami’s, Technocel’s and TYLT’s alter
 10    ego.
 11           9.    Lucent does not know the true names and capacities of the defendants
 12    sued as DOES 1 through 10, inclusive, and, therefore, sues these defendants by
 13    such fictitious names. Lucent will amend this Complaint to allege the true names
 14    and capacities of DOES 1 through 10, inclusive, when ascertained.
 15                              JURISDICTION AND VENUE
 16           10.   The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332,
 17    as there is diversity of citizenship between the parties, and the amount in
 18    controversy exceeds $75,000, exclusive of interest and costs.
 19           11.   Venue is proper under 28 U.S.C. § 1391(b)(1) as all Defendants reside
 20    in this judicial District. Venue is also proper pursuant to 1391(b)(2) because a
 21    substantial part of the events or omissions giving rise to the claims occurred in this
 22    district.
 23                               FACTUAL BACKGROUND
 24    A.     Defendants’ Contracts and Transactions with Lucent
 25           12.   Starting in April 1999 and continuing through at least November 2017,
 26    Rostami, through his company Technocel, entered into a series of contracts
 27    (“Contracts”) with Lucent and engaged in a course of practice where Rostami
 28    would have Technocel issue purchase orders to Lucent for power chargers, Lucent
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  1    would manufacture and supply those power chargers pursuant to the terms specified
  2    in Technocel’s purchase orders, and Lucent would then submit invoices to
  3    Technocel for those power chargers, which included a payment term as net 60 days
  4    after the invoice issuance. Until around July 2016, Mr. Rostami through Technocel
  5    would pay the invoiced amount pursuant to the payment term of invoices delivered
  6    to Technocel for the supplied power chargers.
  7          13.     Beginning on or about August 2016, Rostami, as the sole or dominant
  8    board member, and both the CEO and the CFO, caused Technocel to not pay the
  9    invoiced amount pursuant to the payment term of the invoices delivered to
 10    Technocel. At this time, to induce Lucent to continue shipping power chargers to
 11    Technocel, Rostami began making promises to pay Lucent the amount owed to
 12    Lucent in installments. For example, on around February 15, 2017, shortly after
 13    Rostami’s first failure to pay Lucent’s invoice in accord with the 60-day payment
 14    term, he agreed to pay Lucent in weekly installments of $153,000, which Technocel
 15    then paid until around July 2017. The installment plan, however, resulted in the
 16    payment for only a portion of the supplied power chargers given Rostami continued
 17    to issue purchase orders from Technocel for power chargers that were subsequently
 18    supplied by Lucent, but Rostami failed to pay the invoices for those power
 19    chargers. By May 2017, the past-due invoices owed to Lucent amounted to
 20    $2,672,057.
 21          14.     To induce Lucent to continue supplying power chargers to Technocel
 22    given the millions of dollars debt, Mr. Rostami agreed on around August 2, 2017 to
 23    pay Lucent an increased amount for the weekly installments -- $200,000 instead of
 24    $153,000 as originally promised. Subsequently, Mr. Rostami had Technocel pay
 25    the weekly installment of $200,000 from early August until around November
 26    2017. But during this time, Mr. Rostami, on information and belief, was preparing
 27    his exit plan to default on the past-due invoices to Lucent. Unbeknownst to Lucent,
 28    Mr. Rostami had mis-managed, and otherwise ran, Technocel into the ground,
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  1    which, in part, resulted in Technocel having amassed $2.672 million in debt to
  2    Lucent, and millions in other debt to other suppliers, including at least $2.9 million
  3    in debt to Salcomp PLC (“Salcomp”), totaling $5.572 million in debt. Also
  4    unbeknownst to Lucent, before promising Lucent the $200,000 weekly
  5    installments, Mr. Rostami already formed another company, TYLT Inc. (“TYLT”)
  6    in around June 2017 to perpetuate his fraudulent business practice by avoiding
  7    liabilities occurred by Technocel to Lucent and Salcomp.
  8          15.    On information and belief, Mr. Rostami’s installment plan was a
  9    scheme to procure even more power chargers from Lucent than he planned or was
 10    able to pay for. Between June to November 2017, Mr. Rostami, through
 11    Technocel, continued ordering power chargers from Lucent totaling around $5.786
 12    million in value, which Lucent timely delivered to Technocel and subsequently
 13    invoiced Technocel for that amount. But despite Technocel’s weekly installment
 14    payments to Lucent during this period, the amount Technocel owed to Lucent did
 15    not decrease, but increased to nearly $4.5 million by end of November 2017.
 16          16.    On information and belief, unbeknownst to Lucent, Rostami was in the
 17    middle of winding up Technocel’s operations and transferring Technocel’s assets to
 18    TYLT through a GABC proceeding in around November 2017. At the time,
 19    Rostami and Technocel concealed this GABC proceeding rom Lucent, and, on
 20    information and belief, also failed to disclose at least Lucent as a creditor to
 21    Insolvency Services Group (“ISG”), the party overseeing the GABC proceeding.
 22          17.    On or around December 1, 2017, Rostami told Lucent that he could
 23    increase the weekly payments by an additional $200,000, where he would have
 24    TYLT pay this additional $200,000 weekly while Technocel would pay the other
 25    $200,000 weekly to pay-down Lucent’s past-due invoices. Rostami had TYLT
 26    make additional $200,000 payment to Lucent once.
 27          18.    Between around November 2017 to January 2018, Rostami, his
 28    employees at both Technocel and TYLT, and his affiliates repeatedly delivered a
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  1    message to Lucent that that TYLT and Technocel were the same entity, and TYLT
  2    was merely another name of Technocel. For example, on or about November 15,
  3    2017, Ms. Merry Liu, from a company named NewAsiaGroup, which, on
  4    information and belief, is an affiliate of Technocel and TYLT and was examining
  5    the Lucent power chargers delivered to Technocel in China, sent an e-mail to
  6    Lucent, stating: “[p]lease kindly note we will no longer use ‘Technocel’ as the
  7    name of the company[.] Technocel will be changed to ‘TYLT[.]’” On or about
  8    December 15, 2017, Ms. Christina Valenzuela, on information and belief an
  9    employee of both Technocel and TYLT, subsequently confirmed NewAsiaGroup’s
 10    statement that the new name for Technocel would be TYLT. Later, on several
 11    occasions, Technocel and TYLT requested Lucent to send invoices to TYLT for
 12    purchase orders originally placed under the name of Technocel. Since then, in
 13    reliance on these representations, Lucent shipped power chargers to TYLT, and
 14    invoiced TYLT for those power chargers ordered by Technocel.
 15          19.   To further delay Lucent’s discovery of Rostami’s fraudulent practice
 16    and induce its continued supply of power chargers, on or about January 4, 2018,
 17    Rostami informed Lucent that the amount Technocel owed to Lucent for the power
 18    chargers supplied to Technocel would be paid by TYLT in weekly installments of
 19    $100K, but only after TYLT had received payment from its customers.
 20    Specifically, Rostami’s e-mail stated: “[We] have closed Technocel and it’s going
 21    through a company that will sell assets and divide between creditors … therefore
 22    we [cannot] pay anymore from Technocel, but the company will send payments as
 23    soon as they liquidate everything … in the next 90 days.” This e-mail continued:
 24    “[I]n the [meantime], we can pay from TYLT … but since TYLT is new, we can
 25    pay $100k per week, until new payments come in from customers. So I have told
 26    accounting to pay $100k to Lucent from TYLT in Jan.”
 27          20.   In the same January 4, 2018 e-mail, Rostami offered a personalized
 28    guarantee for the money he owed: “I’ve put one of the buildings we have for sale
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  1    and as soon as I sell it, I can send more payments from TYLT to Lucent. Please let
  2    Steve know not to worry, as I promised him, I will pay what is owed on Technocel
  3    side to him myself.” The “Steve” identified in Mr. Rostami’s e-mail is Steve
  4    (Chih-Hung) Cheng, President of Lucent. On information and belief, Rostami’s
  5    promises to pay Technocel’s debt with his personal assets were intended to delay
  6    Lucent’s pursuit of Technocel’s debt and induce Lucent’s continued supply of
  7    power chargers.
  8          21.    Rostami’s plan prior to this time, on information and belief, was to
  9    continue the distribution business he had under Technocel’s name under the “new
 10    name” TYLT without TYLT being saddled with the significant debt he incurred on
 11    behalf of Technocel by fraudulently transferring Technocel’s assets to TYLT at
 12    below market value to the detriment of Lucent and other creditors, as stated herein.
 13    In fact, Rostami has attempted to white-wash this fraudulent transfer through a
 14    seemingly legitimate process and services of ISG, the party selected by Rostami to
 15    oversee the GABC proceeding to wind up Technocel. Attached hereto as Exhibit A
 16    is a true and correct copy of the General Assignment Agreement between
 17    Technocel and ISG, and the corresponding trademark assignment cover sheet. On
 18    information and belief, as required by the GABC process under California Civil
 19    Code Section 1802(c), Rostami had Technocel submit a list of Technocel’s
 20    creditors to ISG. However, on information and belief, this submission to ISG
 21    intentionally failed to disclose at least Lucent as one of Technocel’s creditors. On
 22    information and belief, ISG did not provide a notice to Lucent and other creditors of
 23    Technocel under Section 1802(a) as they had not been identified by Rostami and
 24    Technocel. The lack of notice to Lucent and the other creditors had limited the
 25    likely pool of potential buyers who participated in the sale of Technocel’s assets to
 26    only those knowing of the potential sale - on information and belief, Rostami, the
 27    insider, using TYLT to acquire the underlying assets of Technocel. In fact, on the
 28    same day of the General Assignment (January 8, 2018), ISG and TYLT executed an
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   1   Intellectual Property Assignment Agreement, where ISG assigned all of
   2   Technocel’s patent and trademark rights to TYLT for no value in return. Attached
   3   hereto as Exhibit B is a true and correct copy of the Intellectual Property
   4   Assignment Agreement between ISG and TYLT and the corresponding trademark
   5   assignment cover sheet.
   6         22.    As such, at least Lucent (and any other undisclosed creditor of
   7   Technocel) was materially harmed by not being able to participate in the
   8   distribution of any funds to creditors identified to ISG during the GABC
   9   proceeding. Further, because of Rostami’s fraudulent conduct, Lucent was denied
  10   the opportunity to ensure that Technocel’s assets were sold on fair terms, let alone
  11   to participate as a potential buyer of those assets. To perpetuate his fraudulent
  12   scheme, on information and belief, Rostami concealed his interest in TYLT from
  13   ISG and acquired most, if not all, of Technocel’s assets through TYLT for an
  14   insignificant, below market value.
  15         23.    Lucent reasonably relied on Rostami’s representations that he would
  16   pay for the past-due invoices issued to Technocel through TYLT and use of his
  17   personal funds. As a result, Lucent continued to supply power chargers for
  18   Rostami’s distribution business, now named TYLT instead of Technocel believing
  19   the former to be a continuation of Technocel as told by Rostami and employees of
  20   both Technocel and TYLT. Indeed, the correspondence between Lucent and TYLT
  21   consistently copied employees working for both Technocel and TYLT, reinforcing
  22   Lucent’s reasonable belief that TYLT and Technocel were the same entity. For
  23   example, while discussing TYLT’s purchase orders and payment to Lucent, the e-
  24   mail account of Technocel’s accounting person, Ms. Valenzuela, was consistently
  25   copied on the correspondence.
  26         24.    Unbeknownst to Lucent, Rostami’s January 4, 2018 e-mail regarding
  27   Technocel’s winding up was intended to delay Lucent’s pursuit of its rights against
  28   Technocel’s assets. Lucent reasonably relied on Rostami’s representations and
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   1   waited for 90 days. But Lucent never heard from Rostami, much less received any
   2   funds from Technocel’s liquidation, as stated in Rostami’s January 4, 2018 e-mail.
   3         25.   Subsequent to Rostami’s January 4, 2018 e-mail, Rostami and Ms.
   4   Paging Yang (on information and belief, an employee of both TYLT and
   5   Technocel) sent numerous e-mails to Lucent to reassure Lucent that Technocel’s
   6   past-due invoices for the supplied power chargers will be paid by TYLT. On
   7   information and belief, Rostami intended for Lucent to rely on such promises so
   8   that Lucent would continue to fulfill TYLT’s purchase orders. On information and
   9   belief, Rostami also intended for Lucent to rely on his promises that he and TYLT
  10   would pay for Technocel’s past-due invoices to induce Lucent to delay pursuing
  11   Technocel for Lucent’s past-due invoices issued to Technocel.
  12         26.   Lucent reasonably relied on Rostami’s and Ms. Yang’s
  13   representations, and continued shipping power chargers to TYLT in fulfillment of
  14   TYLT’s purchase orders. TYLT’s payment of invoices for TYLT’s purchase
  15   orders, however, were often made after the 60-day payment term, and TYLT failed
  16   to pay for Technocel’s past-due invoices as promised to Lucent. As a result, in
  17   May 2018, Steve Cheng reminded Rostami of invoice’s 60-day payment term.
  18         27.   From late May to early June 2018, Rostami reassured Lucent on
  19   numerous occasions that TYLT would be funded by loans. In response to Lucent’s
  20   requests for payment, in early June 2018, Rostami again reassured Lucent with his
  21   personal assets, stating “[M]y family has money in Europe and we are trying to
  22   transfer some funds from Europe to Steve’s daughter this month as well.” On
  23   information and belief, Rostami’s promise to pay Technocel’s debt with his family
  24   funds was intended to at least induce Lucent’s continued supply of power chargers.
  25         28.   By July 2018, on information and belief, the GABC proceeding
  26   accomplished what Rostami had intended, the sale of most, if not all, of
  27   Technocel’s assets to TYLT, and below market value, at which point Rostami and
  28   TYLT had benefited from Lucent’s continued supply of power chargers for more
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   1   than half a year without fulfilling their promises to pay Technocel’s debt to Lucent.
   2   On or about July 3, 2018, Ms. Paging Yang e-mailed Lucent using her Technocel
   3   e-mail account stating that all payments Lucent received since December 2017 for
   4   its past-due invoices should have been towards Lucent’s invoices issued to TYLT
   5   contrary to her prior assertion that TYLT would also pay for and had been paying
   6   for Lucent’s invoices issued to Technocel. Ms. Paging Yang’s e-mail states, in
   7   pertinent part: “[All] payments we did since Dec of 2017 should pay towards
   8   TYLT. By US law we cannot touch Technocel’s account. What we owe under
   9   Technocel is between Rami and Steve by separate agreement in private. … I’ll
  10   provide a solid payment plan for you for future payments.” In pressing Lucent to
  11   continue supplying power chargers to TYLT, Ms. Paging Yang also repeatedly
  12   requested Lucent to fulfill TYLT’s most recent purchase orders of power chargers
  13   by July 11, 2018. Otherwise, she claimed TYLT would allegedly lose business or
  14   incur a heavy fine. In her correspondence with Lucent regarding TYLT’s purchase
  15   orders and payment dues, Ms. Yang consistently used her Technocel e-mail
  16   account.
  17         29.    On July 10, 2018, Rostami confirmed via e-mail he would pay
  18   $700,000 from his family funds for the amount Technocel owed to Lucent. Since
  19   Rostami had successfully induced Lucent to supply power chargers for his
  20   distribution business throughout the pendency of the GABC proceeding, at the
  21   conclusion of which resulted in the sale of most, if not all, of Technocel’s assets to
  22   TYLT at below market value (to the detriment of Lucent and other creditors), he no
  23   longer had to carry on his charade of lies and false promises as they related to
  24   TYLT: “[t]he 700k is agreement between Steve and I for pass [sic] due invoices
  25   from the past and does not have do anything with TYLT.” While Rostami
  26   promised to pay $700,000 of the remaining amount of past-due invoices to
  27   Technocel using his family funds, Rostami only caused a partial payment of this
  28   amount to be made to Lucent. And, despite his assertions in his July 20, 2018 e-
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   1   mail, this partial payment of the promised $700,000 was made by TYLT. On
   2   information and belief, Rostami commingled his personal funds with TYLT’s funds
   3   in order to make this partial payment.
   4            30.   On or about July 22, 2018, Steve Cheng e-mailed Rostami again
   5   requesting payment for Lucent’s past-due invoices to Technocel and TYLT. In
   6   reply on that same day, Rostami stated “[t]here will be no further payments, and no
   7   more business together.” In the same e-mail, Rostami indicated he had borrowed
   8   and paid Lucent over $3.5 million over the year, including $500k two weeks ago.
   9   On information and belief, Rostami’s July 22, 2018 e-mail is another instance that
  10   confirms Rostami’s commingling of his personal funds with the funds of both
  11   Technocel and TYLT. While having insufficient information regarding Mr.
  12   Rostami’s borrowing money, Lucent was repeatedly told by Rostami, verbally or in
  13   writing, that he would be personally responsible for the outstanding balance owed
  14   by Technocel and TYLT, as described herein.
  15            31.    In reasonable reliance on Rostami’s statements in his July 22, 2018
  16   reply e-mail to Steve Cheng, Lucent ceased manufacturing power chargers in
  17   fulfillment of six purchase orders from TYLT, and did not ship to TYLT the power
  18   chargers that Lucent had already manufactured, which amounts to $1,663,112 in
  19   value.
  20            32.   As of the filing of this Complaint, TYLT has paid Lucent $3,246,582,
  21   of which $2,238,652 was for payment of invoices issued to TYLT, and $1,007,390
  22   was for invoices issued to Technocel. Lucent has still not been paid $2,408,259 for
  23   power chargers Lucent supplied and invoiced to Technocel, in addition to
  24   $1,663,112 for power chargers Lucent manufactured pursuant to the six purchase
  25   orders from TYLT. Because those manufactured power chargers were customized
  26   to TYLT’s specifications (e.g., printing TYLT’s logo on the products), Lucent is
  27   not able to resell them to any other customers.
  28
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   1         33.    On August 1, 2018, Rostami, through “Intellectual Property
   2   Assignment Agreement” executed by himself on behalf of both TYLT and AWI (a
   3   true and correct copy of which along with the corresponding trademark assignment
   4   cover sheet is attached hereto as Exhibit C), assigned from TYLT to AWI, for no or
   5   an insignificant value, all titles and rights of the trademarks Technocel fraudulently
   6   transferred to TYLT on January 8, 2018. On information and belief, AWI is
   7   undercapitalized and is under sole control of Defendant Rostami, and is Defendants
   8   Rostami’s, Technocel’s and TYLT’s alter ego.
   9   B.    Additional Allegations related to Alter Ego/Veil Piercing Liability
  10         34.    On information and belief, Rostami undercapitalized Technocel,
  11   TYLT, and AWI, and used those entities to perpetuate his fraud on Lucent and
  12   other suppliers and creditors. On information and belief, Technocel did not have
  13   sufficient capital to operate a distribution business involving power chargers, which
  14   involved millions of dollars in cash flow. Prior to June 2017, Technocel already
  15   owed Lucent around $2.672 million and, at least, another power charger supplier,
  16   Salcomp PLC (“Salcomp”), in excess of $2.9 million.
  17         35.    Similarly, between December 2017 to July 2018, TYLT had received
  18   power chargers from Lucent alone totaling over $2.238 million, which was nearly
  19   $280,000 a month at average. On information and belief, TYLT sold those power
  20   chargers at a price significantly higher than the purchase price from Lucent, and
  21   thus TYLT’s revenues should amount to at least a million per month. Yet,
  22   according to the Delaware Secretary of State Filing (a true and correct copy of
  23   which is attached hereto as Exhibit D), however, TYLT had only $5,000 in capital
  24   at the time of its formation in July 2017, and arguably the funds available to acquire
  25   most, if not all, of the assets of Technocel through the GABC proceeding at a value
  26   significantly below their fair value. On information and belief, TYLT’s capital
  27   contribution was insufficient considering, at least the volume of TYLT’s purchases
  28   and sales, and annual tax assessment. By way of example, the Filing shows that
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   1   TYLT’s annual tax assessment for 2018 is $200,000. On information and belief,
   2   that capitalization remained insufficient at least the first year after TYLT’s
   3   formation, the period during which TYLT continued ordering and receiving power
   4   chargers from Lucent. Similar to Technocel and TYLT, on information and belief,
   5   as sole shareholder of AWI, Rostami provided AWI inadequate capital to
   6   perpetuate his fraudulent scheme. At least in part because it was undercapitalized,
   7   AWI paid no value to TYLT for receiving through assignment all titles and rights
   8   of the trademarks Technocel earlier fraudulently transferred to TYLT.
   9         36.    At all these times relevant to Lucent’s claims herein, on information
  10   and belief, Rostami exercised full control over TYLT, Technocel and AWI as being
  11   an officer (CEO of TYLT, Technocel and AWI, and also CFO of Technocel), sole
  12   or dominant board member and sole shareholder of all entities. On information and
  13   belief, Technocel, TYLT and AWI failed to follow and observe corporate
  14   formalities. For example, on information and belief, none of these entities timely
  15   filed the annual report with the government as required by the statutes. As another
  16   example, as stated herein, Rostami repeatedly commingled his personal funds with
  17   Technocel’s, TYLT’s and AWI’s funds.
  18         37.    Rostami’s control over all the three entities allowed him to use them to
  19   perpetuate his fraudulent scheme. Rostami first used his alter ego Technocel to
  20   purchase a significant amount of power chargers from suppliers such as Lucent and
  21   Salcomp, and after receiving the ordered power chargers from those suppliers,
  22   Rostami had Technocel to default on the invoices for the unpaid customized
  23   chargers. As stated herein, prior to June 2017, Technocel already amassed at least
  24   $5.572 million in debt to Lucent and Salcomp alone. On the heels of Technocel’s
  25   insolvency, Rostami formed another alter ego of his own, TYLT, as a vehicle for
  26   him to continue his distribution business involving power chargers with the intent
  27   of avoiding Technocel’s liabilities and acquiring most, if not all, of Technocel’s
  28   assets below market value. On information and belief, Rostami did have TYLT
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   1   acquire most, if not all, of Technocel’s assets at below market through the GABC
   2   proceeding that he instituted to defraud creditors, such as Lucent.
   3         38.    To delay Lucent’s actions in light of the excessive debt, on January 4,
   4   2018, Rostami claimed that he was winding down Technocel, but assured Lucent
   5   that Technocel “will send payments as soon as they liquidate everything” and that
   6   Rostami and Technocel’s “successor” TYLT would be responsible for Technocel’s
   7   debts. Unbeknownst to Lucent, on January 8, 2018 - only four days after telling
   8   Lucent to wait for Technocel’s liquidation, Mr. Rostami arranged for Technocel to
   9   transfer substantially all its assets to ISG as the assignee under the General
  10   Assignment Agreement (see Exhibit A at 3), effectuating the GABC proceeding as
  11   defined in Section 493.010 of the California Code of Civil Procedure and under
  12   California common law. (2:17-cv-07807-JFW-SS (D.E. 34, 1:1-24).) On
  13   information and belief, Rostami and Technocel intentionally failed to disclose to
  14   ISG that Lucent and others were creditors of Technocel. Because ISG was not
  15   aware of Lucent as a creditor of Technocel, and Lucent was not aware of or was
  16   provided adequate notice of the GABC proceeding, the potential buyers of the
  17   assets of Technocel was limited to, on information and belief, Rostami who used
  18   his recently incorporated TYLT to acquire most, if not all, of the assets of
  19   Technocel from ISG under the GABC proceeding at below market value not long
  20   after the assignment. On information and belief, ISG was not aware that Rostami
  21   was the sole shareholder of Rostami, or otherwise was not an arms-length
  22   transaction. (Id. (D.E. 55, 2:12-16).) ISG transferred all of the titles and rights of
  23   the patents and trademarks assigned from Technocel to TYLT on the same day,
  24   January 8, 2018. See Exhibit B at 3.
  25         39.    On August 1, 2018, Rostami through “Intellectual Property Assignnent
  26   Agreement” executed by TYLT and AWI (see Exhibit C at 3), further assigned
  27   from TYLT to AWI all titles and rights of the trademarks Technocel fraudulently
  28   transferred to TYLT for no value in consideration.
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   1         40.    On information and belief, Technocel, TYLT and AWI were, at all
   2   times controlled and managed by the same shareholder, director and officer, Mr.
   3   Rostami, who caused Technocel to transfer most, if not all, of its assets to TYLT to
   4   maintain Rostami’s distribution business involving, at least, power chargers, and
   5   then transfer at least the trademark rights from TYLT to AWI for no valuable
   6   consideration. On information and belief, Rostami intended for Technocel to have
   7   little to no funds available to satisfy Technocel’s debt to Lucent. And even if there
   8   would have been sufficient funds available to pay off Technocel’s debt to Lucent,
   9   Rostami ensured that none of Technocel’s debt to Lucent was paid as a result of the
  10   GABC proceeding by intentionally failing to identify Lucent as a Technocel
  11   creditor to ISG. On information and belief, by further assigning at least Techocel’s
  12   trademark rights from TYLT to AWI, Rostami intended that Lucent recover
  13   nothing from TYLT for TYLT’s and Technocel’s debts on those trademark assets.
  14         41.    On information and belief, Rostami’s manipulations of the affairs of
  15   Technocel, TYLT and AWI were designed to foster his own purposes and operated
  16   to the disadvantage of Lucent and other creditors of Technocel. On information
  17   and belief, the fraudulent transfer of Technocel’s assets to TYLT was done to
  18   escape liability resulting from Technocel’s operations, and results in an inequity
  19   should Technocel’s corporate veil not be pierced to impose liability on its sole
  20   shareholder, Rostami.
  21         42.    Further, Rostami and his companies Technocel and TYLT consistently
  22   held Rostami and TYLT out as alter egos of Technocel, and indeed commingled
  23   their funds in making a partial payment to Lucent. Between November 2017 to
  24   July 2018, to induce Lucent to continue supplying power chargers for Rostami’s
  25   distribution business, Rostami, Technocel and TYLT repeatedly reassured Lucent
  26   that TYLT wouldl pay for, and Rostami would personally pay for Technocel’s
  27   past-due invoices; and that TYLT was merely a renaming of Technocel. Lucent
  28   reasonably relied on such reassurances and continued fulfilling TYLT’s purchase
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   1   orders. In early June 2018, Rostami again represented to Lucent that he would pay
   2   with his personal assets - his family funds in Europe and confirmed on July 10,
   3   2018 that he would pay $700,000 from his family funds towards Technocel’s past
   4   dues to Lucent. While Mr. Rostami stated on his July 10, 2018 e-mail that the
   5   $700k “does not have do anything with TYLT,” he commingled his personal funds
   6   with TYLT and caused TYLT to make a partial payment of this amount to Lucent.
   7   Lucent reasonably relied on Mr. Rostami’s and his employees’ representations and
   8   so continued fulfilling TYLT’s purchase orders until July 22, 2018. On this day,
   9   after Rostami achieved what he had long intended, Rostami revealed his fraudulent
  10   scheme to Lucent by declaring that neither he nor either of his two companies
  11   would pay for any of the remaining past-due invoices. Even then, Rostami still
  12   indicated he had borrowed and paid Lucent over $3.5 million over the year, again
  13   showing that he commingled his personal funds with the operating funds of
  14   Technocel and TYLT.
  15         43.    Rostami and the employees at both TYLT and Technocel commingled
  16   the commercial transactions and obligations of TYLT and Technocel, by, for
  17   example, placing purchase orders to Lucent under the name of Technocel and then
  18   requesting Lucent to address its invoices to TYLT; and arbitrarily distributing
  19   payments between Lucent’s invoices to Technocel and TYLT. On information and
  20   belief, the power chargers supplied by Lucent benefited all of the Defendants as a
  21   result of their commingling funds. On information and belief, Rostami, Technocel,
  22   TYLT and AWI commingled their funds by freely transferring the intellectual
  23   property rights among themselves, as stated herein. For example, Rostami caused
  24   TYLT to transfer at least all of its trademark rights to AWI for no consideration in
  25   exchange.
  26         44.    During all relevant time periods, being an officer (CEO of TYLT,
  27   Technocel and AWI, and also CFO of Technocel), sole or dominant board member
  28   and sole shareholder of all entities, Rostami controlled and managed Technocel,
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   1   TYLT, and AWI, including the finances and business practices which relate to
   2   Lucent’s claims herein, and he delayed and prevented payment of Lucent’s invoices
   3   for power chargers supplied to Technocel and TYLT. In addition, as stated above,
   4   Rostami actively participated in corporate affairs of both Technocel and TYLT by
   5   communicating with Lucent regarding its invoices to Technocel and TYLT and
   6   payment of those invoices. On information and belief, Rostami also actively
   7   participated in corporate affairs of AWI as the CEO of the company, and he
   8   personally signed the Intellectual Property Assignment Agreement on behalf of
   9   both AWI and TYLT.
  10         45.    On information and belief, as the sole shareholder of Technocel,
  11   TYLT and AWI, Rostami believes he may use Technocel and TYLT’s corporate
  12   status to avoid liability for Lucent’s unpaid invoices to Technocel and TYLT,
  13   despite the foregoing and his repeated promises that he would be personally liable
  14   for and would pay Lucent’s invoices to Technocel and TYLT in order to induce
  15   Lucent to continue to fulfill purchase orders for power chargers that he sought to
  16   sell or already sold to his customers in carrying out his distribution business. To
  17   prevent Lucent from attaching any asset of Technocel to satisfy Technocel’s and
  18   TYLT’s debts, Rostami further caused TYLT to assign to AWI for free Technocel’s
  19   trademark rights that were fraudulently transferred to TYLT. Thus, a unity of
  20   interest and a single enterprise relationship exists among Mr. Rostami, Technocel,
  21   TYLT, and AWI.
  22         46.    Defendants’ alter ego relationship is also revealed in their sharing of,
  23   on information and belief, all the employees, premises, and even lawyers. During
  24   all relevant time periods, Technocel, TYLT and AWI shared the same corporate
  25   address, 685 Cochran Street. See California Secretary of State Statement for
  26   TYLT, a true and correct copy of which is attached hereto as Exhibit E; California
  27   Secretary of State Statement for FTC (Technocel), a true and correct copy of which
  28   is attached hereto as Exhibit F; and Corporate Records & Business Registrations for
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   1   AWI, a true and correct copy of which is attached hereto as Exhibit G. Further,
   2   during all relevant time periods, TYLT and Technocel shared the same employees,
   3   who held themselves as employees of both entities, including at least Ms. Paging
   4   Yang (who managed processing invoices from suppliers), David Yeh (who
   5   managed processing purchase orders), and Christina Valenzuela (who managed
   6   bookkeeping and accounting). On information and belief, Merry Liu at
   7   NewAsiaGroup also worked for both Technocel and TYLT (beyond her
   8   employment with NewAsiaGroup, which, on information and belief, is an affiliate
   9   with Technocel, TYLT and Rostami). On information and belief, AWI also shared
  10   the same employees of TYLT and Technocel for the relevant times.
  11         47.   Moreover, Rostami, Technocel (though not appearing in this lawsuit in
  12   response to the original complaint), TYLT and AWI have used and are using the
  13   same lawyers and law firm - Farhad Novian and Jonathan A. Schaub of Novian &
  14   Novian LLP. Mr. Novian and Mr. Schaub made appearances on behalf of both
  15   Rostami and TYLT in this case. Further, Mr. Novian and Mr. Schaub represented
  16   Technocel in defending its breach of contract and fraudulent misrepresentation
  17   litigation brought by Salcomp. On information and belief, Mr. Novian and Mr.
  18   Schaub were also involved in Technocel’s GABC proceeding. Moreover, Mr.
  19   Novian was the attorney of record for assignment of the trademarks between TYLT
  20   and AWI, as well as assignment of the same trademarks between Technocel and
  21   ISG, as well as ISG and TYLT. (See Exhibit A at 2, Exhibit B at 2, and Exhibit C
  22   and 2.)
  23         48.   Lucent has performed pursuant to the Contracts of the parties, but
  24   Defendants have refused to tender payment of Lucent’s unpaid invoices to
  25   Technocel and TYLT, and for the power chargers that had been manufactured prior
  26   to TYLT’s termination of its six purchase orders to Lucent.
  27         49.   By virtue of Rostami’s exercise of complete control of Technocel,
  28   TYLT and AWI’s business practices and finances, and his use of undercapitalized
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   1   Technocel, TYLT and AWI as a mere instrumentality to avoid making payments
   2   owed to Lucent, Rostami, who owns and controls Technocel and TYLT, should be
   3   held jointly and severally liable for any obligations of Technocel and TYLT to
   4   Lucent through the doctrines of alter ego and/or single enterprise liability and
   5   piercing the corporate veil to prevent injustice. Under the alter ego and/or single
   6   enterprise liability doctrines, AWI should also be held liable for Technocel’s and
   7   TYLT’s liabilities and disgorge any assets fraudulently transferred from Technocel
   8   and/or TYLT, to prevent any inequity.
   9                                   COUNT I
  10       (Fraudulent Misrepresentation & Inducement against All Defendants)
  11         50.    Lucent incorporates by reference each and every allegation set forth in
  12   the preceding paragraphs as though fully set forth herein.
  13         51.    As described herein, Rostami used his alter egos Technocel and TYLT
  14   as his instrumentalities to defraud Lucent and other power charger suppliers. In
  15   perpetuating his fraudulent scheme, Rostami, through TYLT and Technocel,
  16   ordered from Lucent power chargers of $4,506,381 in contract value, agreed to pay
  17   this amount, and then defaulted. On information and belief, as the sole shareholder,
  18   officer and director of both entities, Rostami possessed the financial projections,
  19   budgets, company business plans, and other material information, and thus knew
  20   the financial condition and the direction of both companies. This excessive amount
  21   of default by Technocel and TYLT, on information and belief, was an outcome of
  22   Rostami’s fraudulent scheme of procuring power chargers from Lucent without an
  23   intention to pay but telling Lucent that he would.
  24         52.    Specifically, Defendants Rostami, TYLT and Technocel made false
  25   representations of material facts and/or concealed material facts in connection with
  26   the order and/or payment of the power chargers, and the financial status and
  27   business plan of Technocel and TYLT, including, among others:
  28
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   1         • Repeatedly misrepresenting that Technocel and TYLT would pay for the
   2            power chargers within sixty days after invoice issuance when having no
   3            intent to do so and concealing the existing material facts that Technocel
   4            and TYLT were undercapitalized and thus unable to pay, for example:
   5            - Rostami and the employees at Technocel, including at least Ms.
   6               Paging Yang, repeatedly misrepresented their intent to Lucent, through
   7               the purchase orders placed by Technocel from August 2016 to
   8               November 2017 and e-mail correspondence related to Lucent’s
   9               invoices, that Technocel would pay for the ordered power chargers
  10               within sixty days of delivery.
  11            - Rostami and the employees at TYLT, including at least Ms. Paging
  12               Yang, repeatedly misrepresented their intent to Lucent, through the
  13               purchase orders placed by TYLT from March to May 2018 and e-mail
  14               correspondence related to Lucent’s invoices, that TYLT would pay for
  15               the ordered power chargers within sixty days after invoice issuance.
  16         • Repeatedly requesting that Lucent continue shipping products while
  17            suppressing the fact that Defendants had no intention of paying for them
  18            and that Technocel and TYLT were undercapitalized and unable to pay,
  19            for example:
  20            - Rostami repeatedly requested Lucent to ship power chargers at least
  21               between February 2017 to July 2018, by misrepresenting his intention
  22               that Technocel will pay weekly installments and TYLT would be
  23               funded by loans for paying the ordered power chargers.
  24            - The employees at both Technocel and TYLT, including at least Ms.
  25               Paging Yang, repeatedly requested Lucent to ship power chargers at
  26               least between August 2016 to July 2018, by misrepresenting the facts,
  27               for example, that TYLT would lose business or incur a heavy fine.
  28
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   1         • Repeatedly misrepresenting that Technocel and TYLT would make
   2            payments for the power chargers according to an agreed payment plan
   3            when in fact neither intended to do so to satisfy Technocel’s and TYLT’s
   4            total debts to Lucent, for example:
   5            - On around February 15, 2017, Rostami misrepresented his intent that
   6               Technocel will pay Lucent in weekly installments of $153,000.
   7            - On around August 2, 2017, Rostami misrepresented his intent that
   8               Technocel will pay Lucent the weekly installments of $200,000.
   9            - In around November 2017, Rostami misrepresented his intent that he
  10               would increase the weekly installments by an additional $200,000,
  11               where the $200,000 would be paid by TYLT in addition to the
  12               $200,000 paid by Technocel for Technocel’s past-due invoices.
  13            - On around January 4, 2018, Rostami misrepresented his intent that the
  14               amount Technocel owed to Lucent for the power chargers supplied to
  15               Technocel would be paid by TYLT in weekly installments of $100K.
  16         • Repeatedly misrepresenting that Rostami would make payments for the
  17            power chargers using his personal assets to satisfy the unpaid invoices,
  18            while concealing his fraudulent scheme of using TYLT and Technocel as
  19            his instrumentalities to procure power chargers for resale, and his
  20            intention not to do so, for example:
  21            - On January 4, 2018, Rostami misrepresented his intention that he will
  22               “send more payments from TYLT to Lucent” and he will “pay what is
  23               owed on Technocel side to [Steven] myself.”
  24            - In early June 2018, Rostami misrepresented his intention that he will
  25               send Lucent his family’s money in Europe.
  26            - On around July 10, 2018, Rostami misrepresented his intention that he
  27               will pay Lucent $700,000 from his family funds, and that does not
  28               have anything to do with Lucent.
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   1         • Misrepresenting material facts that Technocel was planning to send
   2               Lucent payments after liquidation:
   3               - Specifically, on January 4, 2018, Rostami misrepresented the material
   4                  facts that he and Technocel were planning to send payments to Lucent
   5                  after Technocel’s liquidation.
   6         • Misrepresenting that Technocel had no assets to pay Lucent’s invoices
   7               while concealing Technocel’s fraudulent transfer of its assets to TYLT.
   8               - On information and belief, Rostami had planned to fraudulently
   9                  transfer Technocel’s assets out to TYLT, another alter ego of his own,
  10                  to avoid paying Technocel’s debt to Lucent, when representing
  11                  otherwise to Lucent. Specifically, Rostami represented to Lucent that
  12                  Technocel “will send payments as soon as they liquidate everything …
  13                  in the next 90 days” but then Mr. Rostami caused Technocel’s assets to
  14                  transfer to TYLT under a GABC proceeding without providing or
  15                  causing adequate and timely notice to Lucent of the GABC
  16                  proceeding.
  17         • Concealing material facts from Lucent that Rosami’s alter ego entities
  18               TYLT and AWI were formed as a vehicle to avoid Technocel’s liabilities
  19               to pay Lucent, as stated herein.
  20         53.      On information and belief, Defendants knew these misrepresentations,
  21   omissions, and concealment of material facts were false, or at a minimum, acted
  22   recklessly as to the truth or falsity of the representations.
  23         54.      On information and belief, Defendants intentionally or recklessly made
  24   the misrepresentations, omissions, and concealment for the purpose of inducing
  25   Lucent to continue manufacturing and shipping power chargers to Defendants, and
  26   to purposefully delay making payments to Lucent.
  27         55.      On information and belief, Defendants intended for Lucent to rely on
  28   the misrepresentations, omissions, and concealment.
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   1         56.     Lucent reasonably and justifiably relied to its detriment on
   2   Defendants’ misrepresentations, omissions, and concealment, by, for example,
   3   continuing manufacture and shipping of the power chargers to Defendants.
   4         57.     As a direct and proximate result of the fraudulent inducement and
   5   misrepresentations, omissions, and concealment described herein, Lucent has
   6   suffered, and will continue to suffer, irreparable harm and injury including, but not
   7   limited to, substantial losses in revenue, loss of profits, discredit to its business
   8   reputation and loss of goodwill, loss of business relations with existing and future
   9   business prospects and loss of competitive business advantage, opportunity and/or
  10   expectancy.
  11         58.     In the alternative, and/or in addition to the irreparable injury described
  12   herein, as a direct and proximate result of the conduct described above, Lucent has
  13   suffered and will continue to suffer damages in an amount to be proven at trial, and
  14   is entitled to recover these damages from Defendants.
  15         59.     Further, to the extent Defendants’ actions were done knowingly,
  16   intentionally, willfully, wantonly, maliciously and/or recklessly, Lucent is entitled
  17   to an award of exemplary or punitive damages.
  18                                     COUNT II
  19                 (Negligent Misrepresentation against All Defendants)
  20         60.     Lucent incorporates by reference each and every allegation set forth in
  21   the preceding paragraphs as though fully set forth herein.
  22         61.     On information and belief, Defendants Rostami, and his alter egos
  23   Technocel, TYLT and AWI intended for Lucent to rely on the misrepresentation,
  24   omissions, and concealment.
  25         62.     Lucent reasonably and justifiably relied to its detriment on the
  26   misrepresentations, omissions, and concealment of Defendants. As a direct and
  27   proximate result of Defendants’ representations, omissions, and concealment
  28   described herein, Lucent has suffered, and will continue to suffer, irreparable harm

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   1   and injury including, but not limited to, substantial losses in revenue, loss of profits,
   2   discredit to its business reputation and loss of goodwill, loss of business relations
   3   with existing and future business prospects and loss of competitive business
   4   advantage, opportunity and/or expectancy.
   5         63.    In the alternative, and/or in addition to the irreparable injury described
   6   herein, as a direct and proximate result of the conduct described above, Lucent has
   7   suffered and still continue to suffer damages in an amount to be proven at trial, and
   8   is entitled to recover these damages from Defendants.
   9                                     COUNT III
  10                      (Breach of Contract against All Defendants)
  11         64.    Lucent incorporates by reference each and every allegation set forth in
  12   the preceding paragraphs as though fully set forth herein.
  13         65.    From at least August 2016 to November 2017, Rostami had Technocel
  14   issue a total of 145 purchase orders to Lucent, which were all accepted by Lucent.
  15   From March 2018 to May 2018, Rostami had TYLT issue a total of six purchase
  16   orders to Lucent, which were all accepted by Lucent. This resulted in valid and
  17   enforceable Contracts between Lucent and Defendants TYLT and Technocel, and
  18   their alter egos Rostami and AWI, for good and valuable consideration.
  19         66.    Lucent performed its obligations under the Contracts, except those
  20   conditions, covenants and obligations excused by Defendants’ breach.
  21         67.    Defendants materially breached their obligations under the Contracts
  22   by failing to pay Lucent for the power chargers Defendants received and/or ordered.
  23         68.    As a direct and proximate result of Defendants’ breach, Lucent has
  24   been damaged and continues to suffer damages.
  25         69.    There is due and owing from Defendants to Lucent the principle sum
  26   of not less than $4,506,381, representing the contract price of the power chargers
  27   manufactured and delivered to Technocel - $2,408,259; and the contract price of the
  28   power chargers ordered by TYLT and manufactured by Lucent - $1,663,112.

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   1         70.    Lucent is entitled to interest on the foregoing amount and to such
   2   additional sums to be determined at trial as Lucent may be required to incur as a
   3   proximate cause of Defendants’ breach.
   4                                   COUNT IV
   5        (Anticipatory Breach against Defendants Rostami, TYLT and AWI)
   6         71.    Lucent incorporates by reference each and every allegation set forth in
   7   the preceding paragraphs as though fully set forth herein.
   8         72.    Between on or about March 20, 2018 to on or about May 16, 2018,
   9   Rostami had TYLT issue a total of six purchase orders to Lucent, which were all
  10   accepted by Lucent. This resulted in valid and enforceable Contracts between
  11   Lucent and Defendants Rostami and TYLT, as well as their alter ego AWI, for
  12   good and valuable consideration.
  13         73.    Lucent manufactured all of the ordered power chargers, but on or
  14   about July 22, 2018, Rostami had TYLT manifests an unequivocal intention to
  15   breach the parties’ Contracts.
  16         74.    Rostami and TYLT’s repudiation of their obligations under the
  17   Contracts constitutes an anticipatory breach.
  18         75.    This threatened future breach has caused Lucent substantial damages
  19   in the principle sum of not less than $1,663,112, representing the contract price of
  20   the power chargers that Rostami and TYLT ordered.
  21         76.    Lucent is entitled to interest on the foregoing amount and to such
  22   additional sums to be determined at trial as Lucent may be required to incur as a
  23   proximate cause of Rostami and TYLT’s anticipatory breach.
  24                                     COUNT V
  25                     (Promissory Estoppel against All Defendants)
             77.    Lucent incorporates by reference each and every allegation set forth in
  26
       the preceding paragraphs as though fully set forth herein.
  27
  28
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   1         78.     Rostami had Technocel issue a total of 145 purchase orders to Lucent
   2   from August 2016 to November 2017, and had TYLT issue a total of six purchase
   3   orders to Lucent from March to May 2018, representing that if Lucent shipped the
   4   power chargers to Defendants Technocel and TYLT, Defendants would render
   5   payment for such products within 60 days after invoice issuance. Rostami,
   6   Technocel and TYLT further agreed to numerous payment plans for past due
   7   invoices on shipments already made, as stated herein.
   8         79.     In so representing, Defendants Rostami, Technocel, TYLT, and their
   9   alter ego AWI knew or should have known that Lucent would be reasonably
  10   induced to rely upon those representations and expend significant time and
  11   resources to manufacture and/or deliver the goods to Defendants.
  12         80.     Lucent did rely on Defendants’ representations to its detriment, and
  13   manufactured and shipped power chargers of $2,408,289 to Technocel in value.
  14   Having received and accepted the goods, Defendants failed to pay for them.
  15         81.     Lucent also relied on Defendants’ representations to its detriment, and
  16   manufactured power chargers of $1,663,112 in value in accordance with TYLT’s
  17   purchase orders issued from March to May 2018. Because these power chargers
  18   were customized pursuant to Defendants’ specifications (printing their logo on the
  19   products), Lucent is not able to re-sell them to others to mitigate its damages.
  20         82.     As a direct and proximate cause of Defendants’ conduct, Lucent has
  21   been damaged and continues to suffer damages in an amount of at least $4,506,381
  22   in unpaid invoices.
  23         83.     Injustice can be avoided only by enforcing Defendants’ promise to pay
  24   for all of the power chargers shipped to, and accepted by, Defendants, and
  25   enforcing TYLT’s promise to purchase the remaining power chargers at the agreed
  26   upon price.
  27
  28
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   1                                     COUNT VI
   2                      (Unjust Enrichment against All Defendants)

   3         84.    Lucent incorporates by reference each and every allegation set forth in

   4   the preceding paragraphs as though fully set forth herein.

   5         85.    At Defendants Rostami and Technocel’s request, Lucent manufactured

   6   and delivered power chargers of $2,408,289 in value to Technocel, which Lucent

   7   accepted, and manufactured to fulfill Technocel’ orders.

   8         86.    On information and belief, Rostami and his alter egos Technocel,

   9   TYLT and AWI resold the shipped power chargers to their customers, and received

  10   payment from those customers.

  11         87.    Defendants have not paid Lucent for the power chargers it has

  12   manufactured, including those already shipped to and received by Technocel,

  13   despite repeated requests for payment and efforts that established a payment plan.

  14         88.    Defendants have been unjustly enriched by the power chargers Lucent

  15   manufactured and shipped to Defendants, for which Defendants did not pay.

  16         89.    On information and belief, Rostami and his alter ego TYLT have

  17   received a benefit because it received most, if not all, of Technocel’s assets for an

  18   insignificant value, which is far less than the true and fair value of those assets. On

  19   information and belief, AWI has received a benefit because it received, for

  20   providing no valuable consideration in exchange, all of Technocel’s trademark

  21   rights through assignment by TYLT.

  22         90.    It would be unjust to permit Defendants Rostami, TYLT and AWI to

  23   retain these benefits because they arose from a conspiracy to fraudulently shield

  24   Technocel’s assets from its liabilities to Lucent. This conspiracy was at the

  25   expense of Lucent because Rostami and Technocel failed to identify Lucent as a

  26   creditor of Technocel under the GABC proceeding and it resulted in Technocel’s

  27   assets being emptied at below market value, and thus being unable to satisfy all or

  28
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   1   part of its debts to Lucent even if it had been identified as a creditor to Technocel
   2   under the GABC proceeding.
   3         91.      Pursuant to California Civil Code sections 2223 and 2224 and
   4   common law rules of constructive trust, TYLT is an involuntary trustee over those
   5   Technocel’s assets TYLT acquired because it gained those assets by fraud. Lucent
   6   is the beneficiary of this involuntary trust because Technocel’s assets were
   7   conveyed to TYLT and AWI to shield them from attachment by Lucent. Rostami,
   8   TYLT and AWI have a duty as the involuntary trustee of Technocel’s assets to
   9   transfer all of these assets to Lucent.
  10         92.      As a direct and proximate cause of Defendants’ conduct, Defendants
  11   have been unjustly enriched and Lucent harmed in an amount to be proven at trial.
  12                                      COUNT VII
  13                       (Fraudulent Transfer against All Defendants)
  14         93.      Lucent incorporates by reference each and every allegation set forth in
  15   the preceding paragraphs as though fully set forth herein.
  16         94.      The transfer of Technocel’s assets from Technocel to ISG was made
  17   with actual intent to hinder, delay, and defraud Lucent, as exemplified by the
  18   following allegations:
  19         • On information and belief, Rostami, the sole or dominant board member,
  20               the sole shareholder, and the CEO and CFO of Technocel, retains
  21               possession and control of Techncoel’s assets after the transfer.
  22         • The transfer of Technocel’s assets to ISG was never disclosed to Lucent
  23               by Rostami, Technocel, TYLT or ISG. On information and belief,
  24               Rostami and Technocel failed to disclose to ISG that Lucent was a
  25               creditor of Technocel, as required by Civil Code section 1802(c), which
  26               further demonstrates Rostami and Technocel’s intention to prevent Lucent
  27               from participating in the GABC process to ensure it was effectuated on
  28               fair terms. On information and belief, Defendants Rostami, Technocel

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   1               and TYLT concealed the transfer from Lucent in order to escape
   2               Technocel’s liabilities to Lucent.
   3         • Before the transfer was made, Rostami and Technocel were aware of its
   4               debt to Lucent and Lucent’s rights as a creditor to benefit from
   5               Technocel’s assets.
   6         • On information and belief, the transfer was of most, if not all, of
   7               Technocel’s assets, including its intellectual property rights.
   8         • On information and belief, the value of the consideration received by
   9               Technocel was not reasonably equivalent to the fair market value of the
  10               assets transferred.
  11         • On the dates on which Rostami caused Technocel to transfer assets to
  12               ISG, Technocel was insolvent as defined by Civil Code section
  13               3439.02(a) in part because the total of Technocel’s outstanding, matured
  14               debt obligations had, for several months, exceeded its assets.
  15         • The transfer occurred four (4) days after Rostami’s January 4, 2018 e-mail
  16               to Lucent, informing Lucent that “it’s going through a company that will
  17               sell assets and divide between creditors,” but “the company will send
  18               payments as soon as they liquidate everything … in the next 90 days,” in
  19               an effort to prevent Lucent from claiming its credits against Technocel’s
  20               assets.
  21         95.      In addition, the transfer of Technocel’s assets from ISG to TYLT was
  22   made with actual intent to hinder, delay, and defraud Lucent, as exemplified by the
  23   following factors:
  24         • On information and belief, the transfer to TYLT was a transfer to an
  25               insider of both Technocel and TYLT - Mr. Rostami, the sole or dominant
  26               board member, the sole shareholder, and the CEO and CFO of both
  27               Technocel and TYLT. Rostami, retains possession and control of
  28               Techncoel’s assets after the transfer.
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   1         • The transfer of Technocel’s assets was never disclosed to Lucent by
   2            Rostami, Technocel, TYLT or ISG. On information and belief, Rostami
   3            and Technocel failed to disclose to ISG that Lucent was a creditor of
   4            Technocel as required by Civil Code section 1802(c), which further
   5            demonstrates Rostami and Technocel’s intention to prevent Lucent from
   6            participating in the GABC process to ensure it was effectuated on fair
   7            terms. On information and belief, Defendants Rostami, Technocel and
   8            TYLT concealed the transfer from Lucent in order to escape Technocel’s
   9            liabilities to Lucent.
  10         • Before the transfer was made, Rostami and Technocel were aware of its
  11            debt to Lucent and Lucent’s rights as a creditor to benefit from
  12            Technocel’s assets.
  13         • On information and belief, the transfer was of most, if not all, of
  14            Technocel’s assets, including its intellectual property rights.
  15         • On information and belief, the value of the consideration received by ISG,
  16            as Assignee for Technocel was not reasonably equivalent to the fair-
  17            market value of the assets transferred.
  18         • On the dates on which ISG transferred Technocel’s assets to TYLT,
  19            Technocel was insolvent as defined by Civil Code section 3439.02(a) in
  20            part because the total of Technocel’s outstanding, matured debt
  21            obligations had, for several months, exceeded its assets.
  22         • On information and belief, the transfer to TYLT took place on the same
  23            day when Technocel signed the General Assignment Agreement with
  24            ISG, further demonstrating Rostami’s intention to prevent Lucent and
  25            other Technocel’s creditors from participating in the GABC process to
  26            make sure it was legal and on fair terms.
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   1         96.      Further, the transfer of Technocel’s assets including the trademark
   2   rights from TYLT to AWI was made with actual intent to hinder, delay, and
   3   defraud Lucent, as exemplified by the following factors:
   4         • On information and belief, the transfer to AWI was a transfer to an insider
   5               of both Technocel and TYLT - Mr. Rostami, the sole or dominant board
   6               member, the sole shareholder, and the CEO and CFO of both Technocel
   7               and TYLT. Rostami, retains possession and control of Techncoel’s
   8               assets after the transfer.
   9         • The transfer of Technocel’s assets to AWI was never disclosed to Lucent
  10               by Rostami, Technocel, TYLT, ISG or AWI. On information and belief,
  11               Defendants Rostami, Technocel, TYLT and AWI concealed the transfer
  12               from Lucent in order to escape Technocel’s and TYLT’s liabilities to
  13               Lucent.
  14         • Before the transfer was made, Rostami, Technocel and TYLT were aware
  15               of their debts to Lucent and Lucent’s rights as a creditor to benefit from
  16               Technocel’s assets.
  17         • On information and belief, the transfer was of most, if not all, of
  18               Technocel’s trademark rights.
  19         • On information and belief, the value of the consideration received by
  20               TYLT, as Assignor of Technocel’s trademark rights, was not reasonably
  21               equivalent to the fair-market value of the assets transferred.
  22         • On the dates on which TYLT transferred Technocel’s assets to AWI,
  23               TYLT was insolvent as defined by Civil Code section 3439.02(a) in part
  24               because the total of TYLT’s outstanding, matured debt obligations had,
  25               for several months, exceeded its assets.
  26         • On information and belief, the transfer to AWI took place on August 1,
  27               2018, only ten days after Rostami, TYLT and Technocel repudiated to
  28               pay for the past-due invoices to Lucent, demonstrating Rostami’s
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   1               intention to prevent Lucent from attaching TYLT’s assets to satisfy
   2               Lucent’s credit.
   3         97.      As stated herein, Rostami and Technocel caused a transferof most, if
   4   not all, of its assets to TYLT through ISG without receiving a reasonably equivalent
   5   value in exchange for the transfer or obligation, and that TYLT was engaged in a
   6   business for which its remaining assets were unreasonably small in relation to the
   7   business or transaction. On information and belief, Defendants Rostami and
   8   Technocel did not identify Lucent as a creditor to ISG as required by Civil Code
   9   section 1802(c), in an effort to hinder and delay Lucent from learning of the GABC
  10   proceeding. Instead, Rostami asked Lucent to wait for 90 days for payments to
  11   come in, so that Lucent would not seek distribution of proceeds of the liquidation of
  12   Technocel’s assets prior to the completion Rostami’s fraudulent transfer of these
  13   assets to TYLT under Civil Code section 1802(b). Unsurprisingly, Lucent never
  14   received a notice from ISG of the General Assignment of Technocel’s assets as ISG
  15   should have under Civil Code section 1802(a). On information and belief, on the
  16   same day the General Assignment became effective, ISG sold Technocel’s assets to
  17   TYLT for an amount significantly below fair market value.
  18         98.      On August 1, 2018, merely ten days after Defendants Rostami, TYLT
  19   and Technocel repudiated to pay the past-due invoices to Lucent, Rostami caused
  20   TYLT to assign AWI, for no valuable consideration, all titles and rights of the
  21   trademarks Technocel transferred to TYLT on January 8, 2018.
  22         99.      In making the foregoing transfers, Defendants Rostami and his alter
  23   egos Technocel, TYLT and AWI had the actual intent to hinder, delay, or defraud
  24   Lucent from collecting on its lawful debts, as prescribed under Civil Code section
  25   3439.04. Rostami through TYLT and AWI effectively retained possession or
  26   control of the property transferred after the transfer.
  27         100. At all times mentioned herein, Defendants knew that Lucent’s claim
  28   could only be satisfied in whole or in part out of the funds and assets Technocel
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   1   transferred away. Notwithstanding this knowledge, Defendants intentionally,
   2   willfully, fraudulently and maliciously did things alleged herein to defraud and
   3   oppress Lucent.
   4         101. Rostami is further liable for these fraudulent conveyances of
   5   Technocel’s assets because they were each and all part of a civil conspiracy to
   6   commit the tort of fraud. As stated herein, Rostami planned to shield Technocel’s
   7   assets from satisfying its liabilities to Lucent by fraudulently conveying those assets
   8   to TYLT at well-below fair market value via ISG, and then part of those assets
   9   including the trademark rights from TYLT to AWI at no value.
  10         102. As a direct and proximate result of the wrongful acts herein alleged,
  11   Lucent has been damaged in that Technocel and TYLT were emptied of assets to
  12   attach.
  13         103. Lucent is entitled to void all the money and asset transfers made by
  14   Technocel to TYLT and/or AWI under at least Civil Code section 3439.04 and
  15   3439.05, and Lucent is entitled to compensatory damages from all Defendants in an
  16   amount to be proven at trial.
  17         104. Upon information and belief, Defendants Rostami, Technocel, TYLT
  18   and AWI committed the acts alleged herein maliciously, fraudulently, and with the
  19   wrongful and deliberate intention of injuring Lucent and benefiting themselves and
  20   acted with an improper motive amounting to malice and conscious disregard of
  21   Lucent’s rights. Accordingly, Lucent is entitled to recover punitive and exemplary
  22   damages from Defendants in accordance with California Civil Code section 3294.
  23
                                       PRAYER FOR RELIEF
  24
             WHEREFORE, Plaintiff respectfully requests the Court to enter judgment in
  25
       its favor and against Defendants as follows:
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  28
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   1          1.      That Rostami, TYLT and AWI are alter egos of Technocel, and that
   2   Rostami, TYLT, AWI and Does 1-10 are liable for Technocel’s and TYLT’s acts
   3   and omissions and thus all of the claims asserted against Technocel herein;
   4          2.      That Rostami and AWI are alter egos of TYLT, and that Rostami,
   5   AWI and Does 1-10 are liable for TYLT’s acts and omissions and thus all of the
   6   claims asserted against TYLT herein;
   7          3.      That all Defendants have fraudulently misrepresented and induced
   8   Lucent as pled in Count I;
   9          4.      That all Defendants have negligently misrepresented to Lucent as pled
  10   in Count II;
  11          5.      That all Defendants have breached the Contracts as pled in Count III;
  12          6.      That Defendants Rostami and TYLT have anticipatorily breached the
  13   Contracts as pled in Count IV;
  14          7.      That all Defendants be liable for promissory estoppel as pled in Count
  15   V;
  16          8.      That all Defendants have been unjustly enriched as pled in Count VI;
  17          9.      That all Defendants have fraudulently transferred Technocel’s assets to
  18   TYLT and AWI as pled in Count VII;
  19          10.     That Lucent be awarded all damages incurred by Lucent, including but
  20   not limited to $4,506,381 because of Defendants’ activities and conduct alleged
  21   herein in connection with this action;
  22          11.     That Lucent be awarded attorney’s fees where applicable;
  23          12.     That Lucent be awarded exemplary and punitive damages;
  24          13.     That Lucent be awarded pre-judgment and post-judgment interest on
  25   all damages award;
  26          14.     That the money and asset transfers from Technocel to TYLT and AWI
  27   be set aside; and that Lucent recover all interests and profits derived from such
  28   transfers, as ill-gotten gains;
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   1         15.   That Rostami, TYLT, AWI and Does 1-10 be preliminarily and
   2   permanently enjoined from further disposing or dissipating any of the moneys and
   3   assets transferred to them from Technocel;
   4         16.   That Lucent be awarded a full accounting of the damages above,
   5   including for past damages and any continuing or future damages; and
   6         17.   That Lucent be awarded such other and further relief as the court may
   7   deem just and proper.
   8
       DATED: January 14, 2019                      PERKINS COIE LLP
   9
  10                                                By: /s/ Yun (Louise) Lu
                                                       John P. Schnurer, Bar No. 185725
  11                                                   JSchnurer@perkinscoie.com
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  12                                                   LLu@perkinscoie.com
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                                                    LUCENT ELECTRONIC CO., LTD.
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   1                            CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the above
   3   and foregoing document has been served on January 14, 2019 to all counsel of
   4   record who are deemed to have consented to electronic service via the Court’s
   5   CM/ECF system. Any other counsel of record will be served by electronic mail.
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                                                    By: /s/ Yun (Louise) Lu
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       CERTIFICATE OF SERVICE                 -1-       Case No. 2:18-cv-08638-FMO-KS
